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                        United States Bankruptcy Court
                                  District of Connecticut
                                                                                            Filed and Entered
                                                                                                On Docket
                                                                                             April 13, 2022


In re:
         Ho Wan Kwok                                                                   Case Number: 22−50073
         Debtor*                                                                       Chapter: 11




                                              NOTICE OF HEARING


Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

PLEASE TAKE NOTICE that a Hearing will be held at 915 Lafayette Blvd., Room 123, Courtroom, Bridgeport,
CT 06604 on April 27, 2022 at 09:30 AM to consider and act upon the following matter(s):


             Debtor's Motion (I) Setting Bar Dates for Submitting Proofs of Claim, (II) Approving
             Procedures for Submitting Proofs of Claim, and (III) Approving Notice Thereof Filed by
             William R. Baldiga on behalf of Ho Wan Kwok, Debtor. (Re: Doc #146)

             Debtor's Motion Pursuant to 11 U.S.C. §§ 105(a) and 331 to Establish Procedures for
             Interim Compensation and Reimbursement of Expenses of Professional Fee Parties
             Filed by William R. Baldiga on behalf of Ho Wan Kwok, Debtor. (Re: Doc #148)



NOTICE IS FURTHER GIVEN that, unless otherwise ordered by the court the initial hearing on the
foregoing will be a non−evidentiary hearing, and, may be continued or adjourned without further notice.

If you want the court to consider your response on the above−mentioned matter(s), then you or your attorney
must be in attendance on the above scheduled date. If you or your attorney do not attend the above scheduled
hearing, the court may decide that you do not oppose the relief sought in the above−referenced matter and
may enter an order granting that relief.

TO THE FILING PARTY: You are required to serve this Notice of Hearing in accordance with the Bankruptcy
Rules and file a Certificate of Service with the court indicating the name and address of each party served unless
service was made electronically through CM/ECF.

OBJECTION(S) DUE: April 20, 2022 before 4:00 p.m. Untimely objections may not be considered.

CERTIFICATE OF SERVICE DUE: April 20, 2022 before 4:00 p.m. Untimely certificates of service may result in
the hearing not being held.




Dated: April 13, 2022
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                                                                               Pietro Cicolini
                                                                               Clerk of Court

United States Bankruptcy Court                                           Tel. (203) 579−5808
District of Connecticut                                                  VCIS* (866) 222−8029
915 Lafayette Boulevard                                                  * Voice Case Information System
Bridgeport, CT 06604                                                     http://www.ctb.uscourts.gov
                                                                         Form 112 − rms
